              Case
               Case2:13-cr-00361-KJD-GWF
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PROB 22                                                                                                              DOCKET NUMBER (Tran. Court)
(Rev. 2/88)
                                                                                                                              2:13CR00361
                            TRANSFER OF JURISDICTION                                                                 DOCKET NUMBER (Rec. Court)

                                                                                                                    Click here to enter text.
NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE                          DISTRICT                                DIVISION

                                                                                           Nevada                         U.S. Probation Office
Taylor Fairchild
                                                                             NAME OF SENTENCING JUDGE
1305 Valentine Road
Kansas City, Missouri 64111                                                                              Kent J. Dawson
                                                                             DATES OF PROBATION/          FROM                     TO
                                                                             SUPERVISED RELEASE

                                                                                                              7/15/2015                 7/14/2018
OFFENSE
Money Laundering




PART 1 - ORDER TRANSFERRING JURISDICTION


UNITED STATES DISTRICT COURT FOR THE                                         DISTRICT OF                 Nevada



         IT IS HEREBY ORDERED that, pursuant to 18 U.S.C. 3605, the jurisdiction of the probationer
   or supervised releasee named above be transferred with the records of this Court to the United States
   District Court for the Western District of Missouri                           upon that Court’s order
   of acceptance of jurisdiction. This Court hereby expressly consents that the period of probation or
   supervised release may be changed by the District Court to which this transfer is made without further
   inquiry of this court.*


                            9/23/15
                                        Date                                                        United States District Judge

*This sentence may be deleted in the discretion of the transferring Court.
PART 2 - ORDER ACCEPTING JURISDICTION


UNITED STATES DISTRICT COURT FOR THE                     Western             DISTRICT OF                 Missouri



         IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised
   releasee be accepted and assumed by this Court from and after the entry of this order.




                Effective Date                                                       United States District Judge
